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HONORABLE EWING WERLEIN, JR., PRESIDING

DEPUTY CLERK: Marilyn Flores

LAW CLERK: K. O’Herin

COURT REPORTER: Gayle Dye

Time: Begin 4:25 p.m. End 5:22 p.m. DATE: February 22, 2019

 

CA No. 4:16-cy-3368
United States of America, et al.

vs.

City of Houston, Texas

 

MINUTES -_ Status Conference
APPEARANCES:

Nathaniel Douglas, Daniel Hu, Phillip Ledbetter, Efren Ordonez for Plaintiffs

Debra Baker, William David George, Win Colbert, Phillip Goodwin and Tiffany Bingham
for Defendant City of Houston;

Lauren Ice for Intervenor Plaintiff Bayou City Waterkeepers

Status Conference held. Plaintiffs and Defendant represent that a comprehensive consent
decree has been fully agreed except only for the amount of the statutory fine, and that agreement on
the fine is expected within the next two weeks. Intervenor Bayou City Waterworks stated it has
nothing to contribute with regard to the fine negotiation. The Court finds that it is in the best
interests of all parties and the public to allow the United States of America and the State of Texas,
and Defendant City of Houston, to conclude their negotiations on the fine issue without injecting into

those concluding discussions the Intervenor or other persons.

The Clerk will file this entry and serve copies to all parties.

Marilyn Flores,
Case Manager to Judge Ewing Werlein, Jr.
